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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                      Case No. 3:14cr98/MCR

MICHAEL A. McCANTS
_______________________________/

                     REPORT AND RECOMMENDATION
                      CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Rule 11, Fed.
R. Crim. P., and has entered a plea of guilty to Counts One and Two of the
Superseding Indictment. After cautioning and examining the Defendant under oath
concerning each of the subjects mentioned in Rule 11, I determined that the guilty
plea was knowing and voluntary and that the offenses charged are supported by
independent bases in fact containing each of the essential elements thereof. I
therefore recommend that the plea of guilty be accepted and that the Defendant be
adjudicated guilty and have sentence imposed accordingly.

Dated:      April 24, 2015



                                     /s/   Miles Davis
                                     MILES DAVIS
                                     UNITED STATES MAGISTRATE JUDGE
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                                   NOTICE

       Any objections to these proposed findings and recommendations must be
filed within twenty four (24) hours after being served a copy thereof. Any
different deadline that may appear on the electronic docket is for the court’s
internal use only, and does not control. A copy of objections shall be served
upon all other parties. Failure to object may limit the scope of appellate review
of factual findings. See 28 U.S.C. § 636; United States v. Roberts, 858 F.2d 698,
701 (11th Cir. 1988).




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